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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

Robert Ross, Individually,                  :   Consolidated Case Nos.
and on behalf of all others                     2:05-cv-0819
similarly situated,                         :   2:05-cv-0848
                                                2:05-cv-0860
             Plaintiff,                     :   2:05-cv-0879
                                                2:05-cv-0893
      v.                                    :   2:05-cv-0913
                                                2:05-cv-0959
Abercrombie & Fitch Company,                :   2:05-cv-0964
et al.,                                         2:05-cv-0998
                                            :   2:05-cv-1084
             Defendants.
                                            :   JUDGE SARGUS


                              OPINION AND ORDER
      These consolidated securities cases are before the Court for
a ruling on plaintiff City of Dearborn Heights Act of 345 Police
and Fire Retirement Systems’ motion to compel production of
documents from Abercrombie & Fitch’s and Robert Singer’s
privilege logs.      For the following reasons, the motion will be
denied.
                                       I.
      The procedural background of this motion is straightforward.
Abercrombie & Fitch had produced a group of documents to the SEC
when that agency was investigating the same insider trading
allegations that form a part of the plaintiff’s claims here.
Abercrombie agreed to produce these SEC documents to the
plaintiff.     When it did so, however, it did not produce a number
of documents which had been withheld from the SEC on grounds of
privilege.     Plaintiff complains that the privilege log developed
in conjunction with the SEC production contained an inadequate
explanation of why the withheld documents are privileged, and it
notes that some of the documents have been produced by
Abercrombie in this case unaccompanied by any claim of privilege.
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Consequently, plaintiff seeks an order compelling the production
of all of the documents described on the privilege log prepared
in connection with the SEC document production.
       Plaintiff had also sent document requests to defendant
Robert Singer.      Mr. Singer withheld certain documents on grounds
of either attorney-client or work product privilege.               Although he
prepared a privilege log, plaintiff claims that the log either
inadequately describes the documents and the reason for the claim
of privilege, or that the information on the log supports a
finding that the documents are not privileged.              Plaintiff notes
that several of the withheld documents have been produced,
although perhaps not purposely, in unredacted form, and that the
contents of those documents do not appear to be privileged in any
way.   Thus, plaintiff also seeks an order compelling Mr. Singer
to produce all of these documents.
       Abercrombie and Mr. Singer filed separate responses to the
motion.    Abercrombie noted that the privilege log relating to the
SEC documents was not prepared in connection with this
litigation.     In fact, the documents on the privilege log which
have been produced in unredacted form were reviewed by
Abercrombie’s counsel in this case, who determined that no claim
of privilege should be made.         The process of reviewing all of the
documents produced in this case, including documents initially
withheld on privileged grounds, is a continuing one, and
Abercrombie asserts that until it completes that process and
provides plaintiff with a final privilege log, it is simply
premature to decide whether the claims of privilege made in
connection with the SEC subpoena have any validity.               In other
words, it is possible that some or all of the documents withheld
from the SEC will be produced in this case.             If they are not,
Abercrombie will prepare a new privilege log which will provide a
more detailed explanation of why these documents (and others not


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at issue here) are properly subject to a claim of privilege.
      Plaintiff’s response to this argument is that Abercrombie
should not be permitted to wait until its document production is
complete in order to produce a privilege log.              Rather, it asserts
that it is typical that such logs are produced on a rolling basis
to keep pace with the production of documents, and that the Court
should direct Abercrombie to create its privilege logs sooner
rather than later.
      Mr. Singer presented different argument because his
privilege log was prepared in the context of this case.                He
argues that his privilege log sufficiently describes the bases
for his claim of privilege.         Most of the documents withheld
relate to Mr. Singer’s separation agreement, which was entered
into between himself and Abercrombie when he left Abercrombie’s
employ in 2005.      Others relate to drafts of the documents which,
although ultimately filed with the public, were being circulated
for the purpose of obtaining legal advice as to the contents of
the documents.
       In response, plaintiff assert that Mr. Singer has not made
a particularized showing that each document withheld is
privileged, that he has no valid basis for claiming work product
protection because there was never any litigation contemplated
between himself and Abercrombie concerning the separation
agreement, and that drafts of public documents cannot be
privileged.     The Court will address each of these categories of
documents separately.
                                       II.
      Turning first to the Abercrombie documents, the Court agrees
with Abercrombie that it would make no sense to conduct a
comprehensive review of a privilege log which was not prepared
for purposes of this case.         Counsel in this case are both
entitled to and obligated to prepare their own privilege log


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based upon their independent review of the law of privilege and
their independent review of the documents in question.                Because
that review has the potential to cause documents to be produced
which are on the SEC privilege log, (and that has already
happened), it would not be a wise expenditure of judicial
resources to make rulings on the basis of the prior log.
As to the timing of Abercrombie’s preparation of a privilege log,
when the motion was filed, document production was still ongoing.
It is the Court’s belief that as of the date of this order, most,
if not all, of the documents which Abercrombie will produce in
this case have now been produced.            The Court does not know
whether Abercrombie has now prepared and produced a privilege log
with respect to its documents.          Neither party has supplemented
the motion to compel with information about the current status of
the privilege log, and it has been some months since the last
brief on that issue was filed.          Under these circumstances, the
Court will simply deny the motion to compel without prejudice to
its renewal if, on its privilege log, Abercrombie continues to
claim privilege with respect to some or all of the documents
withheld from the SEC, and if plaintiff believes that the claim
of privilege has been inadequately documented or is substantively
incorrect.
      The parties’ briefing concerning Mr. Singer’s privilege log
raises different issues.        Most of the documents under discussion
appear to relate to the details of Mr. Singer’s separation
agreement.     According to the parties, those details have to do
with whether Abercrombie would reimburse him for such things as
cell phone expenses, his car lease, and closing costs for the
sale of his home.       While such information might be privileged,
depending upon the nature and content of the communications at
issue, the Court does not understand the relevance of these
matters to this case, nor have the parties focused their


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arguments on the issue.        Given the fact that these parties have
been particularly diligent about conserving their and the Court’s
resources during the discovery process, the Court is at a loss to
understand why the parties would have spent a significant amount
of time and expense briefing a question of privilege with respect
to documents which may well be irrelevant to the securities
claims advanced by the plaintiff.
      This is especially troubling in light of the suggestion,
made by the plaintiff in the reply brief, that the Court may wish
to undertake an in camera review of these documents.               The Court
conducts such reviews reluctantly, given the fact that they are
not only time-consuming but that they place the Court in the
somewhat awkward position of examining documents which one of the
parties to litigation has not had the opportunity to review.                 The
Court has no desire to review a group of documents to determine
whether privilege applies when there is little or no reason to
believe that the documents, even if produced, would have any
relevance to the parties’ claims or defenses.
      The Court offers the following observations, which may be of
use to the parties, with respect to the Singer documents.                 One of
Mr. Singer’s arguments is that privileged documents do not lose
that character simply because they also contain business advice.
Plaintiff correctly asserts that if the contents of the document
can be neatly segregated into legal advice and business advice,
the proper course of action is to produce the documents with the
legal advice redacted rather than refuse to produce them at all.
Further, the Court agrees with Mr. Singer that drafts of
documents which are subsequently publicly filed may contain some
privileged information such as marginal comments or questions
accompanying the documents calling for the giving of legal
advice.    Again, however, if there are also unprivileged parts of
those documents, such as the draft language itself, the proper


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course of action is to produce a redacted document rather than to
withhold the document in its entirety.            Perhaps, armed with these
observations, any differences between the parties concerning the
documents on Mr. Singer’s privilege log which are actually
relevant to this case can be resolved.
        With respect to the other documents, the parties are
directed to confer to determine whether some procedure can be
established which would permit an attorneys-eyes-only review of
documents for relevance purposes without waiving any claim of
privilege.     It may well be that such a review would persuade
plaintiff’s counsel that, regardless of whether reasonable
parties could differ on the question of the applicability of any
privileged to those documents, there is no value in pursuing
their production because of their complete lack of relevance.                 If
that process does not produce a satisfactory agreement, plaintiff
is free to renew its motion with respect to these documents as
well.
                                      III.
        Based on the foregoing, plaintiff’s motion to compel
documents from the privileged logs of Abercrombie and Fitch and
Robert Singer (#231 in Case No. 2:05-cv-819) is denied.                The
parties are instructed to conduct further proceedings concerning
these documents as outlined above, and the denial of the motion
is without prejudice to the plaintiff’s ability to raise issues
concerning any continued withholding of these documents either by
requesting an informal conference with the Court or, if that
would not be productive, renewing its motion to compel.
        Any party may, within ten (10) days after this Order is
filed, file and serve on the opposing party a motion for
reconsideration by a District Judge.           28 U.S.C. §636(b)(1)(A),
Rule 72(a), Fed. R. Civ. P.; Eastern Division Order No. 91-3, pt.
I., F., 5.     The motion must specifically designate the order or


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part in question and the basis for any objection.               Responses to
objections are due ten days after objections are filed and
replies by the objecting party are due seven days thereafter.
The District Judge, upon consideration of the motion, shall set
aside any part of this Order found to be clearly erroneous or
contrary to law.
      This order is in full force and effect, notwithstanding the
filing of any objections, unless stayed by the Magistrate Judge
or District Judge.       S.D. Ohio L.R. 72.4.


                               /s/ Terence P. Kemp
                               United States Magistrate Judge




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